                  Case 2:18-cv-00847-JLR Document 47 Filed 06/20/19 Page 1 of 4



 1                                                                   HONORABLE JAMES L. ROBART

 2

 3

 4

 5

 6                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 7
                                               AT SEATTLE
 8

 9   CORUS REALTY HOLDINGS, INC.,
                                                        Case No. 2:18−cv−00847−JLR
10                           Plaintiff,
11                                                      STIPULATED MOTION AND [PROPOSED]
                     v.                                 ORDER EXTENDING DEADLINES
12
     ZILLOW GROUP, INC.; ZILLOW,                        NOTE ON MOTION CALENDAR:
13   INC.; and TRULIA, LLC,                             JUNE 20, 2019
14                           Defendants.
15

16

17           Plaintiff Corus Realty Holdings, Inc. (“Corus”) and Defendants Zillow Group, Inc., Zillow,
18
     Inc., and Trulia, LLC (“Defendants”) (collectively, “Parties”) stipulate as follows:
19

20           1.      On September 12, 2018, the Court entered an Order Setting Trial Dates and

21
     Related Dates (Dkt. 22) (“Scheduling Order”). The Scheduling Order identifies, among others,
22
     deadlines for opening and responsive expert reports, discovery motions, discovery cutoff,
23

24   motions challenging experts, and dispositive motions.
25
             2.      The Parties respectfully request modest extensions to these dates while they
26

27   diligently continue to litigate this case. Although the parties are in the process of scheduling
28
     STIPULATED MOTION AND [PROPOSED] ORDER                                   KILPATRICK TOWNSEND & STOCKTON LLP
     EXTENDING DEADLINES - 1 -                                          1420 Fifth Avenue, Suite 3700 Seattle, WA 98101
     Case No. 2:18-cv-00847-JLR                                                                            206-467-9600
                 Case 2:18-cv-00847-JLR Document 47 Filed 06/20/19 Page 2 of 4



 1   individual and Rule 30(b)(6) depositions, ongoing document production and summer vacation

 2
     plans for the witnesses have made completing depositions before the current August 2, 2019
 3

 4   deadline for opening expert reports impossible.

 5
            3.      Accordingly, the Parties jointly request that the Court extend the following
 6
     deadlines:
 7

 8                  Event                  Current Deadline             Proposed New Deadline
 9      Reports from expert             August 2, 2019                 August 30, 2019
        witnesses under FRCP
10      26(a)(2) due
        Rebuttal expert reports due     August 30, 2019                September 27, 2019
11      All motions related to          September 20, 2019             October 11, 2019
12      discovery must be filed by
        (see LCR 7(d) )
13      Discovery completed by          September 20, 2019             October 11, 2019
        All dispositive motions and     October 29, 2019               November 12, 2019
14      motions challenging expert
15      witness testimony must be
        filed by (see LCR 7(d) )
16
            4.      All other dates on the Court’s schedule would remain unaffected. The Parties
17

18   expect that this extension will provide them with sufficient time to complete all depositions well

19
     in advance of the new opening expert report deadline of August 30, 2019, so that such testimony
20

21   can be used as necessary in the expert reports.

22
            IT IS SO STIPULATED by and between the parties hereto.
23
            PURSUANT TO THE STIPULATION, IT IS SO ORDERED.
24

25   DATED:
                                                       ____________________________
26
                                                       HON. JAMES L. ROBART
27                                                     UNITED STATES DISTRICT JUDGE

28
     STIPULATED MOTION AND [PROPOSED] ORDER                                KILPATRICK TOWNSEND & STOCKTON LLP
     EXTENDING DEADLINES - 2 -                                       1420 Fifth Avenue, Suite 3700 Seattle, WA 98101
     Case No. 2:18-cv-00847-JLR                                                                         206-467-9600
              Case 2:18-cv-00847-JLR Document 47 Filed 06/20/19 Page 3 of 4



 1          DATED: June 20, 2019

 2
     s/ Dario Machleidt                             s/ Ramsey M. Al-Salam (with permission)
 3
     Dario Machleidt (State Bar No. 41860)          Ramsey M. Al-Salam, WSBA No. 18822
 4   Kilpatrick Townsend & Stockton LLP             RAlSalam@perkinscoie.com
     1420 Fifth Avenue, Suite 3700                  Antoine M. McNamara, WSBA No. 41701
 5   Seattle, WA 98101                              AMcNamara@perkinscoie.com
     206-467-9600                                   Stevan R. Stark, WSBA No. 39639
 6                                                  SStark@perkinscoie.com
     Mitch Stockwell (pro hac vice)                 Tyler Roberts, WSBA No. 52688
 7
     MStockwell@kilpatricktownsend.com              TRoberts@perkinscoie.com
 8   Wab Kadaba (pro hac vice)                      PERKINS COIE LLP
     WKadaba@kilpatricktownsend.com                 1201 Third Avenue, Suite 4900
 9   Charles Pannell (pro hac vice)                 Seattle, WA 98101
     CPannell@kilpatricktownsend.com                Phone: (206) 359-8000 Fax: (206) 359-9000
10   Joshua Lee (pro hac vice)
11   JLee@kilpatricktownsend.com
     1100 Peachtree Street NE, Suite 2800
12   Atlanta, GA 30309
     Phone: 404-815-6500
13
     Counsel for Plaintiff Corus Realty Holdings,   Counsel for Defendants Zillow Group, Inc.,
14   Inc.                                           Zillow, Inc., and Trulia, LLC
15

16

17

18
19

20

21

22

23

24

25

26

27

28
     STIPULATED MOTION AND [PROPOSED] ORDER                            KILPATRICK TOWNSEND & STOCKTON LLP
     EXTENDING DEADLINES - 3 -                                   1420 Fifth Avenue, Suite 3700 Seattle, WA 98101
     Case No. 2:18-cv-00847-JLR                                                                     206-467-9600
              Case 2:18-cv-00847-JLR Document 47 Filed 06/20/19 Page 4 of 4



 1                                      CERTIFICATE OF SERVICE

 2          I, Dario Machleidt, hereby certify that on June 20, 2019, I caused copies of the foregoing
 3
     document to be served via ECF to counsel of record.
 4

 5
                                                           s/ Dario Machleidt
 6                                                         Dario Machleidt

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
     STIPULATED MOTION AND [PROPOSED] ORDER                               KILPATRICK TOWNSEND & STOCKTON LLP
     EXTENDING DEADLINES - 4 -                                      1420 Fifth Avenue, Suite 3700 Seattle, WA 98101
     Case No. 2:18-cv-00847-JLR                                                                        206-467-9600
